                      Case 2:19-cv-01027-JCM-NJK Document 61 Filed 10/16/20 Page 1 of 1



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                 4                               UNITED STATES DISTRICT COURT
                 5                                      DISTRICT OF NEVADA
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                 7    SHELLY CIMINI,                                       Case No. 2:19-CV-1027 JCM (NJK)
                 8                                         Plaintiff(s),                  ORDER
                 9           v.
               10     RICO WHITE, et al.,
               11                                        Defendant(s).
               12
               13            Presently before the court is the matter of Cimini v. White et al, 2:19-cv-01027-JCM-
               14     NJK. The court granted the parties’ stipulation of dismissal of “the entire action with
               15     prejudice.” (ECF No. 60). This stipulation was signed by counsel for plaintiff Shelley
               16     Cimini and defendant Sutherland Global Services, Inc. (Id.). The last remaining defendant,
               17     Rico White, has not been terminated and has not made an appearance in this case.
               18            Accordingly,
               19            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiff shall, within
               20     fourteen (14) days of this order, file a motion for entry of default judgment or other
               21     appropriate motion to bring this case to a resolution.
               22            DATED October 16, 2020.
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               24                                                  UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
